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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

Earl Hampton                                     )
                                                 )
Plaintiff,                                       )
                                                 )             No: 11-cv-8728
v.                                               )
                                                 )
Weltman, Weinberg & Reis Co., L.P.A., an Ohio )
Corporation; Agent Jenny, Individually, and as )
agent, apparent agent, servant, and/or employee, )
of Weltman, Weinberg & Reis Co., L.P.A.,         )
                                                 )             JURY DEMANDED
Defendants.                                      )

                                  COMPLAINT AT LAW
NOW COMES Plaintiff, Earl Hampton, by his Attorneys, Robert J. Semrad &
Associates, L.L.C., and pursuant to this Complaint at Law, states the following against
the above named Defendants:

                                        COUNT I
                                Plaintiff v. All Defendants
                            Fair Debt Collection Practices Act

1.      The jurisdiction of the court is invoked pursuant to the Fair Debt Collection
Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”). Venue is proper as the actions that
give rise to this complaint occurred, Plaintiff resides, and Defendants conduct business
within this District.
2.       Plaintiff is a citizen of the County of Cook, State of Illinois, and is a “consumer”
as that term is defined by 15 U.S.C. § 1692(a)(3).
3.      Defendant, Weltman, Weinberg & Reis Co., L.P.A., (hereinafter “WWR”) is
an Ohio Corporation, conducting business in the County of Cook, State of Illinois, and is
a “debt collector” as that term is defined by 15 U.S.C. § 1692(a)(6).
4.      Defendant, Agent Jenny, is a natural person conducting business in the County
of Cook, State of Illinois, and is a “debt collector” as that term is defined by 15 U.S.C. §
1692(a)(6).




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5.      At all relevant times, Agent Jenny was the agent, apparent agent, servant, and/or
employee of WWR, and was acting in the course and scope of her agency, servitude and/or
employment.
6.      Prior to 2011, Plaintiff took out a student loan from Wells Fargo.
7.      This loan was for personal use.
8.      This loan was a “debt” as that term is defined by 15 U.S.C. § 1692(a)(5).
9.      On December 8, 2010, Agent Jenny contacted Plaintiff by telephone sometime
before 8:00 a.m., in an attempt to collect the debt.
10.     On December 10, 2010, Agent Jenny contacted Plaintiff by telephone sometime
before 8:00 a.m., in an attempt to collect the debt.
11.     Thereafter, Agent Jenny contacted Plaintiff by telephone at least twice in an
attempt to collect the debt.
12.     Each telephone call was made prior to 8:00 a.m.
13.     The aforementioned telephone calls from Agent Jenny to Plaintiff, were collection
communications in violation of provisions of the FDCPA.
14.     As a result of Defendants’ violations of the FDCPA, Plaintiff is entitled to actual
damages pursuant to 15 U.S.C. § 1692(k)(a)(1); statutory damages in an amount up to
$1,000.00 per incident pursuant to 15 U.S.C. § 1692(k)(a)(2)(A); and reasonable
attorney’s fees and costs pursuant to 15 U.S.C. § 1692(k)(a)(3) from Defendants.


        WHEREFORE, Plaintiff prays that judgment be entered
       against WWR and Agent Jenny, Individually, and as agent, apparent agent, servant,
and/or employee of WWR, and each of them, and in favor of Plaintiff, for an award of
actual damages pursuant to 15 U.S.C. § 1692(k)(a)(1);
       against WWR and Agent Jenny, Individually, and as agent, apparent agent, servant,
and/or employee of WWR, and each of them, and in favor of Plaintiff, for an award of
statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692(k)(a)(2)(A);
       against WWR and Agent Jenny, Individually, and as agent, apparent agent, servant,
and/or employee of WWR, and each of them, and in favor of Plaintiff, for an award of
costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. § 1692(k)(a)(3); and;
       for any other such further relief as may be just and proper.


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Respectfully Submitted,

/s/ Christian D. Elenbaas
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ARDC 6291530

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